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                          UNITED STATES DISTRICT COURT
                                  DISTRICT OF MAINE


PATRICIA GRIFFIN                          )
                                          )
             Plaintiff,                   )
                                          )
      v.                                  )              No. 2:22-cv-00212-SDN
                                          )
UNIVERSITY OF MAINE SYSTEM,               )
et al.,                                   )
                                          )
             Defendants.                  )
                                          )


     ORDER ON DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

      Plaintiff Patricia Griffin (“Professor Griffin”) brings this suit against the University

of Maine System and its president, Jacqueline Edmonson (collectively “Defendants”),

alleging Defendants wrongfully terminated Professor Griffin for her protected speech, in

violation of the First Amendment. Defendants now mov for summary judgment. For the

reasons that follow, I grant Defendants’ motion.

                             I. PROCEDURAL HISTORY

      Professor Griffin filed her initial Complaint against Defendants on July 14, 2022

(ECF No. 1). The parties stipulated to dismissal of Defendant University of Southern

Maine from the Complaint, which occurred on September 13, 2022 (ECF No. 12).

Defendants filed their first Partial Motion to Dismiss on September 27, 2022 (ECF No.

13). The Court denied Defendants’ first Partial Motion to Dismiss as moot (ECF No. 16)

in light of Professor Griffin filing an Amended Complaint (ECF No. 15). Defendants filed

a subsequent Partial Motion to Dismiss on October 28, 2022 (ECF No. 17), and Professor

Griffin responded to Defendants’ motion on November 18, 2022 (ECF No. 18). This Court
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granted in part and denied in part this second Partial Motion to Dismiss, leaving in place

Plaintiff’s First Amendment claims against President Edmondson1 in her official capacity

only (Count I), and Plaintiff’s claims under Title VII of the Civil Rights Act and the Maine

Human Rights Act (Counts III & IV) (ECF No. 27). Defendants filed their Answer to the

Amended Complaint on September 11, 2023 (ECF No. 33). Defendants now move for

summary judgment against Professor Griffin (ECF No. 43). Professor Griffin responded

in opposition to Defendants’ motion (ECF No. 52).

                                  II. FACTUAL BACKGROUND

                                     A. Institutional Information

        The University of Southern Maine (“USM”) is an undergraduate institution and

part of the University of Maine System (“UMS”). Defendants’ Reply to Pl.’s Stmt. of Mat.

Facts (“DRSMF”), (ECF. No. 57, ¶ 1).2 Professor Griffin served as a lecturer at USM in the

College of Management and Human Services in USM’s School of Business. Joint Factual

Stipulation (“JFS”), (ECF No. 42, ¶ 1). Glen Cummings served as president of USM in the

fall of 2021. Id. at ¶ 4. During the relevant time period, Joanne Williams served as Dean

of the College of Management and Human Service and directly supervised Professor

Griffin. Id. at ¶ 2. Prior to August 2021, Professor Griffin had no personal workplace issues

with Dean Williams or President Cummings. DRSMF, ¶¶ 2-3.



1 On August 31, 2023, the Court granted Plaintiff’s Motion to Substitute Party from Glen Cummings to

Jacqueline Edmonson since Edmonson is the current president of the University of Southern Maine. See
ECF Nos. 31, 32.
2 Defendants’ Reply to Plaintiff’s Statement of Material Facts contains both parties’ substantive factual

statements and their responses to one another. In her Opposing Statement of Material Facts and Statement
of Additional Facts, Plaintiff failed to number her proposed additional material facts consecutively, allowing
for two proposed material facts with the same number (e.g. Defendant’s proposed material fact #1 and
Plaintiff’s proposed material fact #1). As a result, Defendants followed this numbering system in their Reply
to Plaintiff’s Statement of Material Facts. To simplify the record, in this order, “DRSMF” refers to
Defendants’ factual statements and “DRSMF (II)” refers to Plaintiff’s factual statements, which are both
contained in ECF No. 57.

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                           B. Curriculum Scheduling at USM

      From 2020 until the fall of 2021, Professor Griffin taught all her classes online in

light of the COVID-19 lockdown. JFS, ¶ 6. USM schedules courses during the immediately

preceding academic semester. DRSMF, ¶ 24. In the spring of 2021, USM administration

finalized Professor Griffin’s fall 2021 schedule to include both one in-person and one

online section of Marketing Strategy (Business 360), one online section of Professional

Selling (Business 364), and one in-person section of Consumer Behavior (Business 365).

JFS, ¶¶ 7-8. Prior to the start of classes, USM canceled Professor Griffin’s Consumer

Behavior course due to a lack of student enrollment. Id. at ¶ 9. As a result of the

cancelation, Professor Griffin’s schedule included only one in-person class for the fall

2021 semester.

      On July 26, 2021, in response to questions from faculty members, USM Provost

and Executive Vice President for Academic and Student Affairs Jeannine Uzzi explained

via email that USM would not switch in-person courses to online administration at that

time, because “students made enrollment and housing decisions based on the teaching

modalities [USM] announced last spring.” DRSMF, ¶ 25. On August 6, 2021, Associate

Dean of the School of Business Jane Kuenz sent notice to faculty via email that USM would

not switch in-person courses to online administration without the faculty member

obtaining a verified ADA accommodation approval from Human Resources. Id. at ¶ 26.

                                    C. UMS Masking
      In light of the Delta variant COVID-19 surge, sometime between late July and early

August, UMS began to worry about whether it would be safe to follow through with its

earlier decision to return to in-person learning. DRSMF, ¶ 5. To mitigate these concerns,


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on August 18, 2021, UMS Chancellor Dannel Malloy initiated a face covering mandate

(the “Masking Policy” or the “Policy”) that required all persons to wear face coverings

“when indoors at any UMS facility.” Id. at ¶ 6-7. UMS also disseminated a website link for

individuals to view the Masking Policy and sources related to the Policy. Id. at ¶ 9. Later,

at her deposition, Professor Griffin testified that she was aware Chancellor Malloy based

this Masking Policy on the Centers for Disease Control and Prevention (“CDC”)

guidelines, and Professor Griffin also testified she was aware of her obligation as a USM

employee to comply with the Masking Policy. Id. at ¶¶ 13-14.

           D. Professor Griffin’s Statements on Masking and USM’s Response
       On August 24, 2021, six days before the fall semester began, Professor Griffin sent

an email from her USM account to Dean Williams with the subject line “addressing the

current USM mandates,” which reads in pertinent part:

       I first want to say how much I love teaching at [USM] as well as working
       with such a great faculty. It really has been the highlight of my career and I
       owe a lot to you for sticking with me.
       The reason for this email is because I have been following the science, data,
       and evidence regarding SARS-CoV-2 and searching for anything that will
       support wearing a mask while indoors as well as vaccinating an entire school
       population as the optimal method for stopping the transmission of the
       virus.
       The reality is that my research has found no evidence to support these
       measures. I wanted to share the information I gathered and relied upon
       when making my decision regarding these mandates before the start of
       classes next Monday to see that my decisions are science, evidence, and data
       based.
       However, I do not want to cause any issues, especially for you, if I come to
       campus on Monday morning to teach my one face to face class so I wanted
       to give you enough time.

DRSMF, ¶ 31; Ex. 11, (ECF No. 44-11). Professor Griffin attached to this email the data

she had collected on the efficacy of COVID-19 masking protocols. See Ex. 11, (ECF No. 44-

11).

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        At Professor Griffin’s deposition, Defendants’ attorney questioned Professor

Griffin about her intent behind the August 24 email, and specifically what she meant

about her “decision regarding these mandates.” See Pl.’s Dep. Tr., (ECF No. 44-2).

Professor Griffin testified that she did not know the meaning behind her reference to a

“decision” in the email, and that she was seeking only USM’s data in support of the

Masking Policy when she sent the email. DRSMF, ¶ 32. When asked if she intended to

comply with the Masking Policy at the time she sent the email, Professor Griffin stated

she could not answer the question and that she did not know. Id. at ¶ 34. Professor Griffin

did testify, however, that she understood how Dean Williams could view the email as an

indication of Professor Griffin’s unwillingness to comply with the Masking Policy. Id. at ¶

35.

        Shortly after Professor Griffin sent the August 24 email, Dean Williams forwarded

the email to Dean Kuenz, Provost Uzzi, and Vice President of Human Resources Natalie

Jones. DRSMF (II), ¶ 6. In addition to forwarding the email, Dean Williams stated in

pertinent part:

        Please see the attached email from Pat Griffin who it seems plans to come
        to campus on Monday to teach without wearing a mask. It also sounds like
        she may not be vaccinated. Is there a way to verify if she uploaded her
        vaccination status? I am assuming this is not the first person to do this so I
        thought I would check in with you before responding. She is teaching 2 f2f
        and 2 online classes. Please let me know your thoughts on managing this.
        Jane and I will look at other ways to cover her f2f classes.3

Id.; ECF No. 53-2. At that time (August 24, 2021), UMS did not mandate vaccinations for

its employees. DRSMF (II), ¶ 7.




3 “f2f” is an abbreviation for “face to face,” meaning in-person administration.


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      Vice President Jones responded to Dean Williams’s forwarded email explaining

that the Masking Policy applied universally to vaccinated and non-vaccinated employees,

employees who chose not to vaccinate would be required to test weekly, and Professor

Griffin’s refusal to comply with the mask mandate would result in disciplinary action,

including termination. Ex. 4, (ECF No. 53-4). Dean Williams responded to Vice President

Jones as follows:

      Thanks for your response. I am pretty sure she is not going to change her
      position which means we need to cover a class immediately. In that case,
      she will not be fulfilling the duties of her contract this Fall. Is the correct
      next step a pre-disciplinary meeting?
DRSMF (II), ¶ 9; Ex. 4, (ECF No. 53-4). Vice President Jones replied to Dean
Williams as follows:
      I think the next step is a meeting with her - and if she would like the union
      to join her, they can be invited. If you want to write it up as pre-disciplinary
      - it would be ahead of action (she hasn’t actually done anything yet). I
      appreciate her professionalism in reaching out to you ahead of time to
      discuss. So I would say - set up a zoom and walk through what she would
      like to do.
DRSMF (II), ¶ 10; Ex. 4, (ECF No. 53-4). Thereafter, Dean Williams responded to

Professor Griffin’s August 24 email to convey Vice President Jones’s instructions that the

masking requirement applied universally to all employees and that non-vaccinated

employees would be required to test weekly, as well as to propose a meeting between

herself and Professor Griffin. DRSMF (II), ¶ 11; Ex. 5, (ECF No. 53-5). At 6:24am on the

following day—August 25, 2021—Dean Williams sent a subsequent email to Professor

Griffin reiterating her desire to meet “sometime [that day] if possible” and informing

Professor Griffin that an Associated Faculties of the Universities of Maine (“AFUM” or

“Union”) representative could be present at the meeting. DRSMF (II), ¶ 12; Ex. 6, (ECF

No. 53-6). At 6:49am, Professor Griffin confirmed that she was available to meet with

Dean Williams that afternoon. DRSMF (II), ¶ 13.

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        At 1:08pm, Vice President Jones responded to a question from Human Resources

Partner Meghan Schratz about the next steps if Professor Griffin refused to comply with

the Masking Policy:

        I just clarified with Labor [Relations]. If after the 2:00 [Professor Griffin]
        continues to refuse - we will need to set up an immediate PDC- so I would
        get a standard PDC letter/memo ready that you can have in your back
        pocket for these situations - and then if it needs to be scheduled - let me
        know - I’ll give Paul a heads up.4
Id. at ¶ 14; Ex. 7, (ECF No. 53-7). Professor Griffin met with Dean Williams sometime

between 2:00pm and 3:30pm. DRSMF, ¶ 36. At 2:48pm, Ms. Schratz wrote an email to a

USM Labor Relations employee stating in pertinent part:

        We had an AFUM faculty member, Patricia Griffin, Lecturer in Marketing,
        who communicated to [Dean] Williams via email yesterday that she would
        refuse to wear a mask to teach her face to face course due to the lack of
        science and data supporting mask use. [Professor Griffin] was assigned to
        teach two online and one face to face course this fall semester.
        [Dean Williams] met with [Professor Griffin] today to discuss the email, and
        [Professor Griffin] has confirmed that she will not wear a mask, nor will she
        be interested in teaching her two online courses (even as part time faculty).
        [Dean Williams] asked if that meant [Professor Griffin] was resigning.
        [Professor Griffin] said that she refused to resign and told [Dean Williams]
        that the university will need to terminate her. [Dean Williams] offered to
        have her meet with HR and AFUM another time, and [Professor Griffin]
        also refused that meeting offer.
DRSMF, ¶ 17; Ex. 8, (ECF No. 53-8).5

        The next day—August 26, 2021—at 6:45am, Professor Griffin sent an email to

students in her Business 364 course stating that “she will not be teaching the course this

fall.” DRSMF, ¶ 38. In response to one Business 364 student’s inquiry on whether

Professor Griffin would be teaching any other courses, Professor Griffin stated: “No, I


4 “PDC” is an abbreviation for pre-disciplinary conference. DRSMF (II), ¶ 14.
5 Plaintiff claims Ms. Schratz sent the email to Labor Relations at or around the time of the meeting between

Dean Williams and Professor Griffin. DRSMF (II), ¶ 17. Defendants qualify Plaintiff’s factual assertion on
this point to highlight that Ms. Schratz’s language in the email indicates that the email had to occur after
the meeting ended. Id. The exact timing of Ms. Schratz’s email does not change the outcome of this matter.

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don’t think so (I won’t wear a mask).” Id. at ¶ 39; Ex. 15, (ECF No. 44-15). Dean Kuenz

declared that she found Professor Griffin’s email to her students to be “highly

unprofessional because it informed students that their course was being canceled.”

DRSMF (II), ¶ 24. In response to Professor Griffin’s emails to her students, Dean Kuenz

emailed an administrative assistant with directions to “cancel BUS 364 and both sections

of [BUS] 360 and notify students that they will need to work with advisors or the

Department Chair to find alternate courses for the Fall.” DRSMF (II), ¶¶ 23-24.

      Professor Griffin emailed another student at 10:39am, stating: “Just wanted to give

you a heads up, the school has mandated the wearing of masks and I will not comply so

was fired.” DRSMF, ¶ 42; Ex. 14, (ECF No. 44-14). At 11:16pm, Professor Griffin sent an

email to a USM professor, which stated: “I refused to wear a mask, and unfortunately, the

school has their mandates and feel because I will not follow that specific one, they must

terminate me.” DRSMF, ¶ 46; Ex. 16, (ECF No. 44-16). At her deposition, Professor Griffin

testified that when she used the words “refused to wear a mask” she was referring to the

past, and when she used the words “I will not follow that specific [mandate],” she was

referring to the future. DRSMF, ¶¶ 47-48; Pl. Dep. Tr. at 89:3-6.

                                  E. Grievance Process
      On August 27, 2021, Professor Griffin, accompanied by AFUM representative Paul

Johnson, met with Dean Williams and Ms. Schratz as a follow up to Professor Griffin’s

August 24 email to Dean Williams. JFS, ¶ 10. During his deposition, Mr. Johnson testified

that during this meeting, Ms. Griffin was “emphatic” that she would not wear a mask in

any of the buildings on the campus at USM. DRSMF, ¶ 55. When asked to describe how

Professor Griffin was “adamant that she would not wear a mask,” Mr. Johnson testified:




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       I think – I’m pretty certain she said to [Dean Williams], no, I won’t, and she
       talked about that there was no scientific – in her opinion, scientific evidence
       to show that masks were effective. And I really just sat at the meeting and it
       was more the Dean and – Dean Williams and [Professor Griffin] discussing
       this. And if my memory serves me correctly, Dean Williams again said we
       have this mandate from the Chancellor’s office saying that – I think it was
       August 18th that we all had to wear masks. You couldn’t come on campus if
       you didn’t wear a mask and [Professor Griffin] was like, no, I’m not wearing
       a mask.
Id.; ECF No. 44-27. During the August 27 meeting, Professor Griffin also refused USM’s

offer to switch to “part-time” status in order to teach solely online courses. DRSMF, ¶ 60.

       On September 8, 2021, President Cummings sent a letter to Professor Griffin

suspending her employment. JFS, ¶ 11. The letter stated the “timeline of

communication related to this action is as follows”:

       You made verbal statements during both the August 25th and 27th meetings
       indicating that you refuse to wear a face covering indoors despite the
       Chancellor’s August 18th mandate;
       In the meeting on August 25th when Dean Williams asked if you intended
       to resign as a result of your refusal to wear a face covering while teaching
       your face to face class, you replied in the negative, to the effect that the Dean
       would instead terminate you;
       You verbally declined Dean Williams’ offer on August 25th to meet again
       with you on this matter along with AFUM union representative and Human
       Resources representative;
       You made verbal statements during both the August 25th and 27th meetings
       in which you refused to teach your assigned courses for the Fall 2021
       semester; and
       In an email sent via Brightspace dated Thursday, August 26th, addressed to
       students enrolled in the Business 360 (Marketing Strategy) course, you
       informed your students that you would not be teaching the course for the
       Fall 2021 semester and directed students to contact you at your personal
       email address with questions.
JFS, ¶ 11; ECF No. 44-10. The letter also stated that President Cummings was moving to

terminate Professor Griffin’s employment “on the grounds of refusal to complete [her]

position duties and job abandonment.” DRSMF, ¶ 63. The letter provided Professor


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Griffin with information on the grievance hearing process for her termination. ECF No.

44-10. President Cummings did not attend the August 25 or 27 meetings, nor was he

included in Professor’s Griffin’s August 24 email to Dean Williams. DRSMF, ¶ 59.

        Under the AFUM grievance procedure, a faculty review committee reviews the

president’s request for termination at a grievance hearing. DRSMF, ¶ 69. Termination

requires a vote by at least four out of the five committee members. Id. On the evening

before her scheduled grievance hearing, Professor Griffin informed Ms. Schratz via email

that she would not be present at the hearing because someone advised Professor Griffin

“to not subject herself to the same hostile environment.” Id. at ¶ 70.6 During her

deposition, Professor Griffin testified that President Cummings had created a “hostile

work environment” for her by making jokes during an August 24 luncheon about

individuals who did not believe in the dangers of COVID. Id. at ¶ 71.7 Professor Griffin

acknowledged that President Cummings did not know her views on masking at the time

of the luncheon and that none of President Cummings remarks on masking were directed

toward her. Id. at 72; Pl. Dep. Tr. at 71:9—13.

        The grievance hearing took place as scheduled on September 22, 2021, and

included a five-person panel of USM faculty members. JFS, ¶ 12. The panel voted

unanimously to recommend Professor Griffin’s immediate termination. DRSMF, ¶ 76.

Two days later, on September 24, 2021, Professor Griffin received a letter from President

Cummings stating that USM had terminated her employment at the panel’s

recommendation. Id. at ¶¶ 13-14.




6 At her deposition, Professor Griffin stated that she could not remember who gave her the advice. ECF No.

44-2 at 115:1—17.
7 Professor Griffin could not recall President Cummings’s specific remarks. ECF No. 44-2 at 71:14—72:8.


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                                   III. DISCUSSION

                                      A. Standard

       Summary judgment is appropriate when viewing all factual disputes in the light

most favorable to the nonmoving party, no genuine issue of material fact exists that would

prevent judgment for the moving party as a matter of law. Fed. R. Civ. P. 56(a); Montfort-

Rodriguez v. Rey-Hernandez, 504 F.3d 221, 224 (1st Cir. 2007). On a summary judgment

motion, “[a] genuine dispute exists where ‘a reasonable jury could resolve the dispute in

favor of the nonmoving party.’” Meuser v. Fed. Express Corp., 564 F.3d 507, 515 (1st Cir.

2009) (quoting Suarez v. Pueblo Int’l, Inc., 229 F.3d 49, 53 (1st Cir. 2000)). Furthermore,

a “material” fact is one that has the potential to change the outcome of the suit under the

governing law. Navarro v. Pfizer Corp., 261 F.3d 90, 93–94 (1st Cir. 2001). At summary

judgment,

       there is “no room for credibility determinations, no room for the measured
       weighing of conflicting evidence such as the trial process entails, no room
       for the judge to superimpose [her] own ideas of probability and likelihood
       (no matter how reasonable those ideas may be) upon the carapace of the
       cold record.”

Bonner v. Triple-S Mgmt. Corp., 68 F.4th 677, 689 (1st Cir. 2023) (quoting Greenburg v.

P.R. Mar. Shipping Auth., 835 F.2d 932, 936 (1st Cir. 1987)). The party opposing

summary judgment “bears ‘the burden of producing specific facts sufficient to deflect the

swing of the summary judgment scythe.’” Baum-Holland v. Hilton El Con Mgmt., LLC,

964 F.3d 77, 87 (1st Cir. 2020) (quoting Theidon v. Harvard Univ., 948 F.3d 477, 494

(1st Cir. 2020)).




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                          B. First Amendment Retaliation

                  i. Whether Professor Griffin Spoke as a Private Citizen
                              on a Matter of Public Concern

       Professor Griffin contends that UMS terminated her in retaliation for her protected

speech. “[T]he First Amendment protects a public employee’s right, in certain

circumstances, to speak as a citizen addressing matters of public concern.” Garcetti v.

Ceballos, 547 U.S. 410, 417 (2006). However, because the efficient provision of public

services depends in part on whether employees’ words and actions are ascribed to the

government, “public employees’ First Amendment rights ‘are not absolute.’” MacRae v.

Mattos, 106 F.4th 122, 132 (1st Cir. 2024) (quoting Curran v. Cousins, 509 F.3d 36, 45

(1st Cir. 2007)). The Supreme Court has developed a multi-part test for assessing whether

an adverse employment action has infringed upon a public employee’s First Amendment

speech rights. The test strives “both to promote the individual and societal interests that

are served when employees speak as citizens on matters of public concern and to respect

the needs of government employers attempting to perform their important public

functions.” Garcetti, 547 U.S. at 420. First, the Court must consider whether Professor

Griffin spoke as a citizen on a matter of public concern. Curran, 509 F.3d at 45. “A

dispositive factor in determining whether an employee’s speech was made as a citizen ‘is

whether the speech underlying [the employee’s] claim was made pursuant to [her] official

duties.’” O’Connell v. Marrero-Recio, 724 F.3d 117, 123 (1st Cir. 2013) (quoting Garcetti,

547 U.S. at 421). If the answer to this inquiry is in the affirmative here, Professor Griffin

has no First Amendment claim, because “restricting speech that owes its existence to a




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public employee’s professional responsibilities does not infringe any liberties.” Id.

(quoting Garcetti, 547 U.S. at 421-22).

       In order to determine whether Professor Griffin’s speech was made pursuant to

her ordinary responsibilities as a lecturer, the Court “must take a hard look at the context

of the [at-issue] speech.” Id. at 32; see also Lane v. Franks, 573 U.S. 228 (2014) (“The

critical question . . . is whether the speech at issue is itself ordinarily within the scope of

an employee’s duties, not whether it merely concerns those duties.”). In considering this

question, the First Circuit has identified several non-exclusive and non-dispositive

factors, including: “[W]hether the employee was commissioned or paid to make the

speech in question; the subject matter of the speech; whether the speech was made up the

chain of command; whether the employee spoke at her place of employment; . . . whether

the employee’s speech derived from special knowledge obtained during the course of her

employment; and whether there is a so-called citizen analogue to the speech.” Decotiis v.

Whittemore, 635 F.3d 22, 32 (1st Cir. 2011) (citations omitted). Ultimately, however, “‘the

proper inquiry is practical rather than formal, focusing on the duties an employee actually

is expected to perform,’ and not merely those formally listed in the employee’s job

description.” Id. at 31 (quoting Mercado-Berrios v. Cancel-Alegria, 611 F.3d 18 (1st Cir.

2010)).

       Even though discussions about the global pandemic COVID-19 might otherwise be

a matter of public concern, the practical analysis under Decotiis leads me to conclude

Professor Griffin was not speaking as a private citizen when she sent the August 24 email.

Most importantly, Professor Griffin sent her email directly to her supervisor, Dean

Williams, which is “the quintessential example of speech that owes its existence to a public

employee’s official responsibilities and thus is not protected under the First Amendment.”

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O’Connell, 724 F.3d at 123 (finding the plaintiff was unable to state a plausible claim for

relief because the at-issue speech “solely focused on events at her workplace and was

made exclusively to fulfill her responsibilities”). The record evidence, including Professor

Griffin’s emails to students and another USM professor, establishes that the purpose of

Professor Griffin’s speech was to communicate her decision to not abide by the mandatory

Masking Policy. Cf. Ayers v. W. Line Consol. Sch. Dist., 691 F.2d 766, 769 (5th Cir. 1982)

(finding the employer based its adverse decision on the plaintiff’s criticisms of the school’s

policy as opposed to the plaintiff’s decision to not abide by the policy). Lastly, as Garcetti

illustrates, “there is no relevant citizen analogue to speech by citizens who are not

government employees” when a public employee speaks pursuant to their job duties.

Garcetti, 547 U.S. at 424. As opposed to disclosing information or initiating disagreement

with the efficacy of COVID-19 masking to a public forum or discussing a public matter

with co-workers, see id. (citing Pickering v. Bd. of Ed. of Twp. High Sch. Dist. 205, Will

Cnty., Illinois, 391 U.S. 563 (1968)), the stipulated facts reveal Professor Griffin

communicated to her supervisor a decision to not adhere to a mandatory workplace

policy. Viewing her actions as a whole, I conclude Professor Griffin spoke pursuant to her

employment duties at USM.

                  ii. Whether Defendants had an Adequate Justification
                       for its Adverse Treatment of Professor Griffin

       Additionally, it bears stating that even had I found Professor Griffin spoke as a

private citizen, a Pickering analysis, which is used to determine whether the employer has

an adequate justification for its treatment of the employee, would not weigh in her favor.

See, e.g., MacRae, 106 F.4th 136. The Pickering analysis is a fact-intensive test that

requires the Court to “balance the value of an employee’s speech—both the employee’s


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own interests and the public’s interest in the information the employee seeks to impart—

against the employer’s legitimate government interest in ‘preventing unnecessary

disruptions and inefficiencies in carrying out its public service mission.’” Decotiis, 635

F.3d at 35 (quoting Guilloty Perez v. Pierluisi, 339 F.3d 43, 52-53 (1st Cir. 2003)). “The

government employer’s interest must be proportional to the value of the employee’s

speech; in other words, ‘the stronger the First Amendment interests in the speech, the

stronger the justification the employer must have’” for any adverse employment action.

MacRae, 106 F.4th at 136 (quoting Curran, 509 F.3d at 48). The Court considers factors

including “(1) the time, place, and manner of the employee’s speech, and (2) the

employer’s motivation in making the adverse employment decision.” Id. at 137 (citing

Davignon v. Hodgson, 524 F.3d 91, 104 (1st Cir. 2008)). If these factors lead to a

conclusion that the “government entity had an adequate justification for treating the

employee differently” from the general public, the employee’s speech is not protected, and

the First Amendment retaliation claim is defeated. Id. at 137 (quoting Garcetti, 547 U.S.

at 418).

       While a person may have a strong interest in discussing the COVID-19 pandemic

and best practices for mitigating the spread of the virus, Professor Griffin’s interest in

making the at-issue speech here is reduced. Even framed in a light favorable to Professor

Griffin, the undisputed material evidence in the record does not posit a conclusion that a

reasonable juror could find that the August 24 email reflects Professor Griffin was posing

a hypothetical scenario or solely expressing a concern with the Masking Policy. As

discussed in the previous section, Professor Griffin’s communications evince that her

August 24 email sent directly to Dean Williams reflected her decision to refuse to wear a

mask in accordance with UMS’s mandatory Masking Policy. Thus, Professor Griffin’s

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interest–that of an employee communicating their decision to refuse to follow a

mandatory employer policy—in making the at-issue speech is substantially weakened.

       On the other side of the analysis, Defendants have a significant interest in

protecting their employees and students from the spread of COVID-19 in hopes of

returning to normal in-person instruction in the wake of the COVID-19 pandemic. See,

e.g., Does 1-6 v. Mills, 16 F.4th 20 (1st Cir. 2021) (“Stemming the spread of Covid-19 is

unquestionably a compelling interest.” (citing Roman Catholic Diocese of Brooklyn v.

Cuomo, 592 U.S. 14, 67 (2020))); Bayley’s Campground, Inc. v. Mills, 985 F.3d 153 (1st

Cir. 2021) (finding an interest in preventing Maine’s healthcare system from being

overwhelmed by people infected with COVID to be compelling under strict scrutiny).

       Defendants also have an interest in assuring its employees abide by university

policies, and preventing any disruption that an employee’s noncompliance may cause.

Diaz-Bigio v. Santini, 652 F.3d 45, 54 (1st Cir. 2011) (“The legitimate interest of public

employers in maintaining discipline is well established.”). Professor Griffin sent the email

just six days before the fall semester began. Contrary to Professor Griffin’s assertion that

Defendants terminated her based on a “hypothetical decision,” USM was not required to

wait until Professor Griffin appeared on campus without a mask to initiate disciplinary

actions. See Curran v. Cousins, 482 F. Supp. 2d 36 (D. Mass. 2007) (“The employer need

not tolerate speech that evinces or encourages ‘intransigence and insubordination.’”

(quoting Hennessy v. City of Melrose, 194 F.3d 237, 248 (1st Cir. 1999)), aff’d, 509 F.3d

36 (1st Cir. 2007). The law affords great weight to an employer’s prediction of a disruptive

effect. See, e.g., Waters v. Churchill, 511 U.S. 661, 673 (1994) (The Supreme Court “give[s]

substantial weight to government employers’ reasonable predictions of disruption, even



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when the speech involved is on a matter of public concern.”). Thus, Defendants’ interest

in its adverse treatment of Professor Griffin is robust.

       I also note that Professor Griffin’s suspension occurred two weeks after the August

24 email to Dean Williams, and Professor Griffin’s termination occurred two weeks after

the suspension—which was also after Professor Griffin declined the opportunity to

participate in her grievance hearing. Within that period, not once does the record indicate

Professor Griffin communicated her intent to comply with the Masking Policy. Thus,

Defendants’ prediction that Professor Griffin’s conduct would cause disruption is

reinforced. Curran, 509 F.3d at 49. Professor Griffin herself admitted that Dean Williams

reasonably could view her email as an outright refusal to abide by the Masking Policy. See

MacRae, 106 F.4th at 137 (explaining the plaintiff’s own statements admitting that her

employer could view the at-issue speech as derogatory weakened the plaintiff’s interests

in making the speech). Even when given an offer to switch to part-time employment to

administer her courses completely online, and given the opportunity to be heard on

whether she should be terminated, Professor Griffin did not express an intent to comply

with the Masking Policy to teach in person.

       I find Defendants’ interests in safety and preventing disruption greatly outweigh

Professor Griffin’s interest in communicating the at-issue speech. As stated in the

previous section, Professor Griffin’s speech is not protected by the First Amendment.

Summary judgment is granted for Count I.

                                 C. Sex Discrimination

       In her opposition brief, Professor Griffin explained that she focused only on her

First Amendment claim and waived her written arguments as to Counts III and IV in the

Amended Complaint. See ECF No. 52 at 1 n.1. As a result, Defendants argue Professor

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Griffin’s claims under Counts III and IV are waived completely. First Circuit precedent is

clear that “an issue raised in the complaint but ignored at summary judgment may be

deemed waived.” Grenier v. Cyanamid Plastics, Inc., 70 F.3d 667, 678 (1st Cir. 1995);

Merrimon v. Unum Life Ins. Co. of Am., 758 F.3d 46 (1st Cir. 2014) (“After filing their

complaint, the plaintiffs did nothing to develop this particular claim, and the summary

judgment papers disclose no development of it. The claim is, therefore, waived.”).

Therefore, Professor Griffin has waived her sex discrimination claims entirely. Summary

judgment is granted for Counts III and IV.

                                    CONCLUSION

      For the foregoing reasons, Defendants’ Motion for Summary Judgment is

GRANTED in its entirety.

      SO ORDERED.

      Dated this 30th day of April, 2025


                                                   /s/ Stacey D Neumann
                                                   U.S. DISTRICT JUDGE




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